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                           IN THE UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF ARKANSAS
                                   EL DORADO DIVISION

DELOIS PIPPEN, as Special Administratrix                                           PLAINTIFFS
of the Estate of Lucille G. Billings, deceased,
and on behalf of the wrongful death beneficiaries
of Lucille G. Billings; and On Behalf of All Others
Similarly Situated


vs.                                 Case No. 1:16-cv-01069-SOH


PINEWOOD HEALTH AND REHABILITATION, LLC;
ARKANSAS SNF OPERATIONS ACQUISITION, LLC;
ARKANSAS NURSING HOME ACQUISITION, LLC;
CSCV HOLDINGS, LLC; CAPITAL FUNDING GROUP, INC.;
SLC PROFESSIONALS, LLC; SLC PROFESSIONALS AR7, LLC;
SLC PROFESSIONALS HOLDINGS, LLC; SLC OPERATIONS
HOLDINGS, LLC; SLC OPERATIONS, LLC; SLC
ADMINISTRATIVE SERVICES OF ARKANSAS, LLC;
SENIOR LIVING COMMUNITIES OF ARKANSAS, LLC;
ADDIT, LLC; SLC OPERATIONS MASTER TENANT, LLC;
SLC PROPERTIES, LLC; 1101 WATERWELL ROAD, LLC;
CSCV ARKANSAS REALTY, LLC; ALAN ZUCCARI;
BRIAN REYNOLDS; JOHN W. DWYER; DANIEL BAIRD;
TROY MORRIS, in his capacity as Administrator of Pinewood
Health and Rehabilitation, LLC; EMILY GREENE, in her
capacity as Administrator of Pinewood Health and Rehabilitation, LLC;
CAROL HOELSCHER, in her capacity as Administrator of Pinewood
Health and Rehabilitation, LLC; and BARNEY L. PIERCE, in his
capacity as Administrator of Pinewood Health and Rehabilitation, LLC            DEFENDANTS

                                MOTION TO STAY DISCOVERY

         Defendants, by and through their counsel, Kutak Rock LLP, for their motion to stay

discovery, state:

         1.        This action commenced on February 3, 2016, when the Plaintiff filed her Class

Action Complaint in the Circuit Court of Ashley County, Arkansas.




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         2.        On June 23, 2016, the Plaintiff served upon the Defendants separate sets of

written discovery titled “First Set of Interrogatories and Requests for Production of Documents.”

         3.        On July 15, 2016, Separate Defendants Troy Morris and Alan Zucarri filed their

Notice of Removal of this action from the Circuit Court of Ashley County, Arkansas to the

United States District Court for the Western District of Arkansas under 28 U.S.C. §§ 1332(d),

1441, 1446, and 1453.

         4.        The Federal Rules of Civil Procedure apply to all civil actions removed from state

court. Fed.R.Civ.P. 81(c)(1). The Rules do not allow either party to seek discovery, with the

exception of initial disclosures, until a Rule 26(f) conference has taken place. Fed.R.Civ.P.

26(d)(1).

         5.        Upon removal to this Court, the Plaintiff’s written discovery is premature under

the Federal Rules of Civil Procedure.

         WHEREFORE, Defendants respectfully request that the Court enter an Order staying

Defendants’ obligation to respond to Plaintiff’s pre-removal written discovery until a Rule 26(f)

conference has taken place, and for all other relief this Court deems just and proper.




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                                     KUTAK ROCK LLP

                               By: /s/ John Trice
                                   Mark W. Dossett, Ark. Bar No. 95174
                                   Dale W. Brown, Ark. Bar No. 2004121
                                   John G. Trice, Ark. Bar No. 93145
                                   234 East Millsap Road, Suite 200
                                   Fayetteville, AR 72703-4099
                                   Telephone: (479) 973-4200
                                   Facsimile: (479) 973-0007
                                   Mark.Dossett@KutakRock.com
                                   Dale.Brown@KutakRock.com
                                   John.Trice@KutakRock.com

                                     and

                                     Jess Askew III, Ark. Bar No. 86005
                                     Andrew King, Ark. Bar No. 2007176
                                     124 West Capitol Avenue, Suite 2000
                                     Little Rock, Arkansas 72201-3706
                                     (501) 975-3000 Telephone
                                     (501) 975-3001 Facsimile
                                     jess.askew@kutakrock.com
                                     andrew.king@kutakrock.com

                                     Attorneys for Troy Morris and all other
                                     Defendants




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                                 CERTIFICATE OF SERVICE

       I hereby certify that on July 20, 2016, I electronically filed the foregoing with the Clerk
of Court using the CM/ECF system, which shall send notification of such filing to the following:

             Matthew David Swindle    matthew@reddickmoss.com, deshae@reddickmoss.com

       I hereby certify that on July 20, 2016, I mailed the foregoing document by first-class U.S.
Mail, postage prepaid to the following non CM/ECF participants:

    Brian D. Reddick                           H. Gregory Campbell
    Brent L. Moss                              CAMPBELL LAW FIRM, P.A.
    Robert W. Francis                          One Information Way, Box 101
    Matthew D. Swindle                         Little Rock, AR 72202
    REDDICK MOSS, PLLC
    One Information Way, Suite 105
    Little Rock, AR 72202

                                              /s/ John G. Trice




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